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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

DAVID STEBBINS                                                                          PLAINTIFF

v.                                   Case No. 3:12-CV-03032

SOCIAL SECURITY ADMINISTRATION COMMISSIONER                                           DEFENDANT

                                            ORDER

       Currently before the Court is the Report and Recommendations (Doc. 14) of the Honorable

Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas. Also before

the Court are Plaintiff’s objections. (Doc. 15). For the reasons stated below, the Court ADOPTS

the Report and Recommendation and finds that Defendant’s Motion to Dismiss should be granted.

       The Magistrate recommends that this case be dismissed for lack of jurisdiction, as the

Plaintiff, David Stebbins, has failed to exhaust his administrative remedies as required by the Social

Security Act. In his objections, Mr. Stebbins concedes as to the Magistrate’s reasoning, but asks that

his complaint be construed as a petition for writ of mandamus and that the Court order Defendant

to schedule a hearing regarding his claim that he does not owe any overpayment on his social

security benefits.

       Even if the Court were to construe Mr. Stebbins’s complaint as a petition for writ of

mandamus, the action must still be dismissed. “The writ of mandamus is intended to provide a

remedy for a plaintiff only if he has exhausted all other avenues of relief and only if the defendant

owes him a clear nondiscretionary duty.” Taylor v. Barnhart, 399 F.3d 891, 894 (8th Cir. 2005)

(quotation omitted). Mr. Stebbins did not exhaust all available avenues of relief before filing his

complaint in this case. In fact, the complaint was filed on March 6, 2012 to complain about the fact


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that Mr. Stebbins had stopped receiving benefits as of March 2012. Mr. Stebbins clearly did not

exhaust any administrative remedies before seeking relief in this Court. Nor did the extraordinary

relief of a writ of mandamus become appropriate as of the filing of Mr. Stebbins’s amended

complaint on May 3, 2012.

       The Court finds, therefore, upon de novo review as to Mr. Stebbins’s objections, that Mr.

Stebbins’s objections do not raise any issue of law or bring to light any facts that would require

departure from the Magistrate’s findings set forth in the Report and Recommendation.

       IT IS THEREFORE ORDERED that the Report and Recommendation (Doc. 14) is

ADOPTED IN ITS ENTIRETY.

       For the reasons set forth above, and including those reasons set forth in the Report and

Recommendations and herein adopted, IT IS FURTHER ORDERED that Defendant’s Motion to

Dismiss (Doc. 12) is GRANTED, and Plaintiff’s Complaint, including any and all amendments

thereto, is DISMISSED WITHOUT PREJUDICE.

       Mr. Stebbins also moves to disqualify Chief United States Magistrate Judge James

Marschewski. Although Judge Marschewski originally granted Mr. Stebbins leave to proceed in

forma pauperis in this case, the case was subsequently reassigned to Judge Bryant, who entered the

Report and Recommendations.        The Court does not agree that there are any grounds for

disqualification of Judge Marschewski in this matter, and Mr. Stebbins does not argue that Judge

Bryant should be disqualified.

       Mr. Stebbins does not give any other grounds for why it is “abundantly clear” that the Court

holds an animus against him, and the Court is otherwise unaware of any grounds warranting

disqualification from this case.


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     IT IS THEREFORE ORDERED that Mr. Stebbins’s Motion to Disqualify (Doc. 18) is

DENIED.

     IT IS SO ORDERED this 8th day of July, 2013.


                                                    /s/P. K. Holmes, III
                                                    P.K. HOLMES, III
                                                    CHIEF U.S. DISTRICT JUDGE




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